Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 1 of 27 PageID
                                    2344




                 Exhibit "A"
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 2 of 27 PageID
                                    2345
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 3 of 27 PageID
                                    2346
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 4 of 27 PageID
                                    2347
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 5 of 27 PageID
                                    2348
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 6 of 27 PageID
                                    2349
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 7 of 27 PageID
                                    2350
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 8 of 27 PageID
                                    2351
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 9 of 27 PageID
                                    2352
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 10 of 27 PageID
                                     2353
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 11 of 27 PageID
                                     2354
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 12 of 27 PageID
                                     2355
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 13 of 27 PageID
                                     2356
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 14 of 27 PageID
                                     2357
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 15 of 27 PageID
                                     2358
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 16 of 27 PageID
                                     2359
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 17 of 27 PageID
                                     2360
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 18 of 27 PageID
                                     2361
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 19 of 27 PageID
                                     2362
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 20 of 27 PageID
                                     2363
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 21 of 27 PageID
                                     2364
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 22 of 27 PageID
                                     2365
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 23 of 27 PageID
                                     2366
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 24 of 27 PageID
                                     2367
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 25 of 27 PageID
                                     2368
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 26 of 27 PageID
                                     2369
Case 8:24-cv-01459-JLB-AAS   Document 111-1   Filed 01/02/25   Page 27 of 27 PageID
                                     2370
